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                               NITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION


   ANTHONY SWAIN, et al., individually and
   on behalf of all others similarly situated,
           Plaintiffs,
                   v.                                  Case No.: 1:20-cv-21457-KMW
   DANIEL JUNIOR, in his official capacity as
   Director of the Miami-Dade Corrections and
   Rehabilitation Department, et al.,
         Defendants.
   _____________________________________/



                         NOTICE OF MOOTNESS OF MOTION TO RELEASE
                             BAYARDO CRUZ ON BAIL (ECF No. 109)

          Plaintiffs respectfully inform the Court that the pending Motion to Release Bayardo Cruz
   on Bail Pending Review of the Class Action Habeas Petition filed on May 4, 2020 (ECF No.
   109) has been rendered moot. Mr. Cruz had been detained since May 2019 for an alleged
   probation violation: an arrest for driving on a suspended license, which resulted from his
   inability to pay court debts. ECF No. 37 at 3. On May 20, 2020, Mr. Cruz had a hearing in the
   state court regarding a plea on his open criminal cases. His cases were closed, and he was
   released the same day. See Ragsdale Decl. & Exs. A-B, Exhibit 1. Accordingly, in light of Mr.
   Cruz’s release, the motion for his release pending before this Court has been rendered moot.
   Dated: May 22, 2020                          Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on May 22, 2020 a true and correct copy of this document was
   electronically filed with the Clerk of the Court U.S. District Court, Southern District of Florida,
   using the CM/ECF system which will send notification of such filing to counsel of record.


                                                /s/ Alexandria Twinem
                                                Alexandria Twinem




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